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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
                              Civil Action No. 3:22-cv-00211-SDD-SDJ
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA
STATE CONFERENCE, AND POWER
COALITION FOR EQUITY AND
JUSTICE,
                          Plaintiffs,


                          v.


NANCY LANDRY, in her official
capacity as Secretary of State for
Louisiana.
                           Defendant.

EDWARD GALMON, SR., CIARA
HART, NORRIS HENDERSON,
                                            Civil Action No. 3:22-cv-00214-SDD-SDJ
TRAMELLE HOWARD,
                          Plaintiffs,


                          v.


NANCY LANDRY, in her official
capacity as Secretary of State for
Louisiana.
                          Defendant.


PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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                             PRELIMINARY STATEMENT

      Black Louisianans have already been forced to vote under a congressional

districting plan containing one-majority Black district that this Court and two panels

of the Fifth Circuit deemed likely violated the Voting Rights Act of 1965, 52 U.S.C.

§§ 10301, et seq. In those decisions, this Court and the Fifth Circuit expressly held

that the illustrative maps submitted by Plaintiffs and composed of two majority-

Black congressional districts were drawn with appropriate consideration of race and

were not racial gerrymanders. See, e.g., Robinson v. Ardoin, 86 F.4th 574, 596 (5th

Cir. 2023).

      Now, nearly two years after Black Louisianans brought this case to demand an

equal opportunity to elect candidates of their choice to the U.S. Congress, Defendants

seek to declare it moot on the grounds that a new law creating two majority-Black

districts, Senate Bill 8 (“SB 8”), was passed by the Louisiana Legislature. Defendants

admitted they passed SB 8 to resolve this litigation and after an explicit directive by

the Fifth Circuit. Moreover, as SB 8 is being attacked in the newly filed Callais v.

Landry action as constituting a racial gerrymander—and with Black Louisianans

right to an undiluted vote again under threat—they have painted Plaintiffs as

“interlopers” for seeking to defend the law when Defendants declined to do so and

carefully avoided suggesting SB 8 is constitutional.

      By their statements and omissions, Defendants have only highlighted how

much remains at stake in this case and why Plaintiffs are entitled to a declaratory

judgment that Louisiana’s 2022 congressional plan violates Section 2 and a
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permanent injunction mandating two congressional districts in Louisiana in which

Black voters can elect candidates of their choice. Defendants have not and cannot

meet the heavy burden of demonstrating this case is moot. This Court should deny

Defendants’ motion to dismiss.


                                       BACKGROUND

      In June 2022, this Court held that the congressional districting plan passed by

the Louisiana Legislature, known as House Bill 1 (“HB 1”), likely violated Section 2

of the Voting Rights Act of 1965 (“VRA”), 52 U.S.C. § 10301, and in November 2023,

the Fifth Circuit affirmed that conclusion. The Fifth Circuit instructed this Court to

allow the Legislature until January 15, 2024, to enact a new plan, and if the

Legislature failed to enact a lawful plan, to proceed swiftly to the merits of Plaintiffs’

claims and impose a court-ordered map in advance of the 2024 election should

Plaintiffs prevail. In January 2024, recognizing that HB 1 would likely not survive

until the 2024 election—and opting not to pass maps substantially similar to the

illustrative maps submitted by Plaintiffs that were introduced during the Special

Session, see, e.g., Senate Bill 4—the Legislature passed and the Governor signed

Senate Bill 8, which provides for a new congressional districting plan with two

majority-Black congressional districts. La. Acts 2024, 1st Ex. Sess., No. 2. Legislators

and the State made clear SB 8 was passed to avoid the Court imposing one of

Plaintiffs’ maps.

      Almost immediately after the enactment of SB 8, a group of self-described

“non-African American” plaintiffs filed a lawsuit in the Western District of Louisiana



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attacking SB 8 as a purported racial gerrymander and raising one of the central

issues this Court confronted in this case: whether Section 2 requires Louisiana to

have a second congressional district where Black voters can elect a candidate of

choice. Although this Court answered that question in the affirmative, the Callais

plaintiffs seek a preliminary injunction enjoining SB 8 to reinstate a map with a

single district in which Black voters could elect a candidate of their choosing—just

like HB 1. See Callais v. Landry, No. 3:24-cv-122-DCJ-CES-RRS (W.D. La. Jan. 31,

2024), ECF No. 17-3 at 12.

      Plaintiffs in this case have moved to intervene in the Callais litigation to

defend their entitlement under the VRA to a congressional plan with two majority-

Black districts. The Callais plaintiffs have opposed that motion in part on the

surprising theory that Plaintiffs lack a legally protectable interest in ensuring that

their Section 2-protected rights are not violated once again and in part on the ground

that their interests are already adequately protected by the governmental defendant.

Notably, neither the State of Louisiana nor the presiding officers of the Louisiana

Legislature have sought intervention in Callais to defend SB 8—a full three weeks

after the complaint was filed—and their opposition to Plaintiffs’ First-Filed motion,

with its insistence that there is little to no party overlap, suggests they do not intend

to intervene there. ECF No. 355, at 13-14. Nor has the Secretary yet mounted any

defense of SB 8, but she has agreed to a hurried schedule that would have the Callais

court issuing a final judgment and implementing a remedial map by the end of April.

See Callais v. Landry, No. 3:24-cv-122-DCJ-CES-RRS (W.D. La. Jan. 31, 2024), ECF




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No. 43. This is in marked contrast to this litigation, where the Legislative leaders and

the Attorney General moved to intervene to defend the legality of the 2022 map

within days of Plaintiffs filing their complaint, and where the Secretary of State was

one of the loudest proponents of delay. See ECF No. 1 (complaint filed Mar. 30, 2022);

ECF No. 10 (legislative leaders’ motion to intervene filed April 6, 2022); ECF No. 30

(State’s motion to intervene filed April 13, 2022).


                                        ARGUMENT

      The burden of demonstrating mootness “is a heavy one.” See United States v.

W. T. Grant Co., 345 U.S. 629, 633 (1953). “[A] case ‘becomes moot only when it is

impossible for a court to grant any effectual relief whatever to the prevailing party.’”

Chafin v. Chafin, 568 U.S. 165, 172 (2013) (emphasis added and citation omitted); see

id. (“‘As long as the parties have a concrete interest, however small, in the outcome

of the litigation, the case is not moot.”). That requirement respects the longstanding

principle that “federal courts are obliged to decide cases within the scope of federal

jurisdiction.” United States v. Esposito, 371 F. Supp. 3d 288, 295 (M.D. La. 2019); see

also Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 72 (2013) (quoting Cohens v.

Virginia, 6 Wheat. 264, 404 (1821) (holding that federal courts have “no more right

to decline the exercise of jurisdiction which is given, than to usurp that which is not

given”).

      The “formidable burden” of demonstrating mootness lies with Defendants, the

parties moving for dismissal on mootness grounds. Friends of the Earth, Inc. v.

Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 190 (2000); see also Gwaltney of



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Smithfield, Ltd. v. Chesapeake Bay Found., Inc., 484 U.S. 49, 66 (1987) (emphasis

added and citation omitted) (“The defendant must demonstrate that it is ‘absolutely

clear that the allegedly wrongful behavior could not reasonably be expected to

recur.’”); Laidlaw, 528 U.S. at 190 (requiring that defendant demonstrate mootness

and overcome voluntary cessation doctrine); W. T. Grant Co., 345 U.S. at 633 (same).

Defendants cite Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001), to argue

instead that the parties asserting jurisdiction—here, Plaintiffs—have the burden of

proof. ECF No. 352-1 at 5. But neither the decision by the court in Ramming nor the

cases it cites arose in the context of a mootness challenge, much less a mootness

challenge premised on the voluntary action of defendants. See Ramming, 281 F.3d at

164–65 (analyzing the jurisdictional question under the Federal Tort Claims Act

whether claims were time-barred). Rather, they raised the question whether the court

had jurisdiction at the outset of the case. 1 And Defendants cite no case in which,

having established that the court had jurisdiction to resolve their claims, a plaintiff

was required to prove jurisdiction again any time a defendant asserts the case has

become moot. On the contrary, the Supreme Court has been clear that standing and

mootness are not the same and has repeatedly placed the burden of demonstrating



1 There is no question this court had jurisdiction when this lawsuit was filed.
Plaintiffs filed this action on March 30, 2022 alleging that HB 1 violated Section 2 of
the VRA, a federal statute. Three separate jurisdictional statutes provide this Court
with jurisdiction to hear and resolve those claims. See 28 U.S.C. § 1331 (general
federal question jurisdiction); id. § 1343(a)(3), 1343(a)(4) (jurisdiction over claims
alleging violations of federal civil rights laws, including the right to vote); id. § 1357
(jurisdiction over claims to enforce the right to vote). Moreover, this Court has already
found, in its preliminary injunction order, that Plaintiffs have standing to assert the
claims raised in the Complaint. See ECF No. 173 at 82-83.

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mootness on the defendant. See Laidlaw, 528 U.S. at 189 (faulting the court of

appeals for “confus[ing] mootness and standing”). As explained below, Defendants

have failed to carry that burden here.

 I.   Defendants Have Not Carried Their Burden of Demonstrating this
      Case Is Moot.

      To establish mootness, the Defendant must show (1) that “it is ‘absolutely

clear that the allegedly wrongful behavior could not reasonably be expected to recur,’”

Gwaltney of Smithfield, Ltd., 484 U.S. at 66 (quoting United States v. Phosphate

Export Assn., Inc., 393 U.S. 199, 203 (1968)), and (2) that “interim relief or events

have completely and irrevocably eradicated the effects of the alleged violation.” Los

Angeles Cnty. v. Davis, 440 U.S. 625, 631 (1979). Only “[w]hen both conditions are

satisfied [can it] be said that the case is moot.” Id. In the absence of such a showing,

the case is not moot and Plaintiffs are entitled to a declaratory judgment that the

challenged map violated Section 2 and prospective injunctive relief requiring

Louisiana to conduct congressional elections under a map with two districts in which

Black voters have an opportunity to elect candidates of their choice. See, e.g., Caliste

v. Cantrell, 329 F. Supp. 3d 296, 307 (E.D. La. 2018), aff’d, 937 F.3d 525 (5th Cir.

2019) (where case was not moot, court had power to grant declaratory relief).

      Defendants assert two purported bases for mootness. First, they argue that

public statements made by some of the Plaintiffs and their counsel regarding SB 8

provide conclusive evidence that Plaintiffs have obtained all the relief they sought.

Second, they argue that the enactment of SB 8 supersedes HB 1 and thereby moots

Plaintiffs’ challenge to HB 1. Both arguments fail. First, the Defendants’ voluntary



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adoption of a new congressional map with no evidence that the challenged conduct

will not recur at the earliest opportunity after this case is dismissed, does not render

the case moot. Second, the mere passage of a new plan—with, as Defendants remind

the Court, no legally enforceable compulsion to do so—cannot be said to “have

completely and irrevocably eradicated the effects of the alleged violation.” This is

particularly true where that plan is under attack in collateral litigation and may no

longer be operative by the time of the 2024 election.

   A. The State’s Voluntary Enactment of SB 8 Does Not Deprive this Court
      of Jurisdiction.

      “A defendant’s voluntary cessation of allegedly unlawful conduct ordinarily

does not suffice to moot a case.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs.

(TOC), Inc., 528 U.S. 167, 174 (2000) (citing City of Mesquite v. Aladdin’s Castle, Inc.,

455 U.S. 283, 289 (1982)). The party asserting mootness carries “[t]he ‘heavy burden

of persua[ding]’ the court that the challenged conduct cannot reasonably be expected

to start up again,” and the Supreme Court has described the standard for determining

whether a defendant’s voluntary conduct moots the case as “stringent.” Id. at 189. To

show that their voluntary conduct mooted this case, the defendant must demonstrate

that “subsequent events [have made] it absolutely clear that the allegedly wrongful

behavior could not reasonably be expected to recur.” Parents Involved in Cmty. Sch.

v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007).

      The reason “a defendant cannot automatically moot a case simply by ending

its unlawful conduct once sued” is clear: “Otherwise, a defendant could engage in

unlawful conduct, stop when sued to have the case declared moot, then pick up where



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he left off, repeating this cycle until he achieves all his unlawful ends.” Already, LLC

v. Nike, Inc., 568 U.S. 85, 91 (2013). 2 Accordingly, “allegations by a defendant that

its voluntary conduct has mooted the plaintiff’s case require closer examination than

allegations that ‘happenstance’ or official acts of third parties have mooted the case.”

Envt’l Conservation Org. v. City of Dallas, 529 F.3d 519, 528 n.4 (5th Cir. 2008). “A

defendant may voluntarily abandon certain conduct, and that abandonment may be

an important factor bearing on the question whether a court should exercise its power

to enjoin the defendant from renewing the practice. But that is a matter relating to

the exercise rather than the existence of judicial power.” Tucker v. Gaddis, 40 F.4th

289, 294- 95 (5th Cir. 2022) (Ho., J., concurring).

      These principles have regularly been applied in redistricting cases to reject

claims that the enactment of a new redistricting plan renders the challenge moot. For

example, in Perez v. Perry, 26 F. Supp. 3d 612 (W.D. Tex. 2014), private plaintiffs

sued the State of Texas under Section 2 and the Fourteenth Amendment to enjoin the

use of their 2011 state house and congressional map. Id. at 614. Simultaneously,

Texas was defending their 2011 maps in preclearance litigation brought under

Section 5 of the VRA. Id. After the federal district court in Washington, DC denied

preclearance, the legislature enacted new state and congressional maps in 2013. Id.




   2 See also City News & Novelty, Inc. v. City of Waukesha, 531 U.S. 278, 284 n.1

(2001) (“[A] party should not be able to evade judicial review, or to defeat a judgment,
by temporarily altering questionable behavior.” (citing Gwaltney, 484 U.S. at 66–67);
City of Mesquite, 455 U.S. at 289, n. 10 (“Courts are not “compelled to leave ‘[t]he
defendant ... free to return to his old ways.’”) (quoting United States v. W.T. Grant
Co., 345 U.S. 629, 632 (1953)).

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at 614-15. The State filed a motion to dismiss, arguing that the suit was moot in light

of the enactment of new 2013 maps. Id. The three-judge panel applied the voluntary

cessation doctrine and found that the state had not carried its burden to show that it

would not resume its unlawful conduct once the case was dismissed. Id. at 621-22. Of

particular significance to the Perez court in reaching this conclusion was that “the

Legislature adopted the 2013 plans at least in part in an attempt to end this

particular litigation,” id. at 621, and that Texas had “steadfastly maintained the

legality” of its original map and had not “announced any policy change that would

preclude the Legislature from engaging in the same alleged wrongful conduct.” Id.;

see also Morse v. Republican Party of Va., 517 U.S. 186, 235 n.48 (1996) (plurality)

(declining to dismiss a Voting Rights Act case as moot where, despite their voluntary

cessation of the challenged practice, the defendants had engaged in the challenged

practice for many years and they had continued to defend the practice as “necessary”).

      Defendants here have likewise utterly failed to demonstrate that the conduct

Plaintiffs challenged is not reasonably likely to recur. Indeed, Defendants’ words and

actions demonstrate that the likelihood of recurrence is high. As in Perez, Defendants

insist that HB 1 was lawful, and remind the Court that no “controlling order,

judgement, or decree . . . required the State to enact [SB 8],” citing the Fifth Circuit’s

vacatur of the preliminary injunction. Defs. Memo. ISO of Mot. To Dismiss, Doc. 352-

1 at 7-9 (“This Court never issued any final judgment invalidating the Old Law. And

while it did issue a preliminary injunction, the Fifth Circuit vacated it.”). Yet at the

same time as Defendants insist they were under no legal obligation to abandon HB




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1, the members of the Legislature and other officials involved in SB 8’s passage

avowedly did so to avoid this Court stepping in and imposing the Plaintiffs’ map. See,

e.g., Office of the Governor, Governor Jeff Landry Opens First Special Session on

Court Ordered Redistricting (Jan. 16, 2024), https://gov.louisiana.gov/news/governor-

jeff-landry-opens-first-special-session-on-court-ordered-redistricting     (asking    the

Louisiana Legislature to enact a new congressional map to avoid a map drawn “by

some heavy-handed member of the Federal Judiciary”); Liz Murrill (@AGLizMurrill),

Twitter (Jan. 16, 2024, 4:53 PM), https://twitter.com/AGLizMurrill/status/1

747376599446516056 (“[W]e have a federal judge holding her pen in one hand and a

gun to our head in the other.”); Statement of Rep. Beaullieu, House Floor, Jan. 19,

2024 (“If we don’t act, it’s very clear that the federal court will impose the plaintiff’s

proposed map on our state and we don’t want that.”).

       Put simply, if Defendants succeed in having this case dismissed as moot, they

will have removed the stated reason the Legislature identified for drawing a map

with a second majority-Black district. Given that the Legislature “adopted [SB 8] at

least in part in an attempt to end this particular litigation, not because it conceded

the any of its actions were wrongful or because it had abandoned any intent to engage

in the same conduct,” Perez, 26 F. Supp. 3d at 621, there is no reason to think the

Legislature will not reenact HB 1 or something very similar as soon as the threat of

this litigation is gone.

       On the contrary, the Callais litigation provides every reason to expect that they

will. Neither the Attorney General nor the Legislature have taken any steps to defend




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SB 8 from constitutional challenge in that case—in contrast to their prior vigorous

defense of HB 1. Indeed, although they insist that SB 8 provides complete relief,

nowhere in their briefing do they tell this Court whether they believe SB8 comports

with Section 2 or the Constitution. Although the Fifth Circuit has held that,

“[w]ithout evidence to the contrary, we assume that formally announced changes to

official governmental policy are not mere litigation posturing,” Freedom From

Religion Found., Inc. v. Abbott, 58 F.4th 824, 833 (5th Cir. 2023) (cleaned up), here,

Defendants’ silence on that critical issue in both this Court and the Callais court

hardly suggests a commitment to maintaining SB 8 or any other map that would

provide Plaintiffs and other Black voters an opportunity to elect candidates of their

choice in a second congressional district.

      Defendants suggest that as government actors, they are entitled to a

presumption of good faith. Mem. at 8. Their status as government actors, however,

does not exempt them from the burden of demonstrating mootness and does not

automatically overcome the voluntary cessation doctrine. The Fifth Circuit has

recently held that the voluntary cessation doctrine applies, even for government

actors, where there is (1) an absence of a controlling statement of future intention;

(2) the timing of a mooting change is suspicious; and (3) where the Defendant

continues its defense of the challenged policies. Speech First, Inc v. Fenves, 979 F.3d

319, 328 (5th Cir. 2020). Here, as noted, the Defendants have assiduously avoided

making any statement of their future intentions—on the contrary, all their

statements suggest that SB 8 was enacted solely to avoid Court intervention, and




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they have articulated no commitment to preserving it beyond the life of this case. The

timing of SB 8 is plainly tied to the schedule imposed by the Fifth Circuit and this

Court to avoid a trial on the merits. And here, not only have the Defendants continued

to defend the lawfulness of HB 1; they have wholly failed to defend SB 8 and have

suggested that Plaintiffs should not be permitted to defend it either.

       Defendants’ insistence that Plaintiffs’ and their counsel’s public statements

regarding SB 8 amounts to a concession of mootness is unsupported by any case

citation and is belied by the facts of this case. ECF No. 352-1 at 1-3. These statements

prove no more than that the Plaintiffs agree that the Defendants have, for the time

being, voluntarily implemented a map that plaintiffs do not believe violates the VRA.

Plaintiffs’ and their counsel’s views on Defendants’ voluntary conduct does not make

it any less voluntary or establish that the unlawful conduct Plaintiffs complained of

is any less likely to recur.

       While “the mere power to reenact a challenged law is not a sufficient basis on

which a court can conclude that a reasonable expectation of recurrence exists,” Nat’l

Black Police Ass’n v. Dist. of Columbia, 108 F.3d 346, 349 (D.C. Cir.1997), here there

is far more than that: through their words and actions, Defendants have made

abundantly clear that if left to their own devices, they will very likely repeat the harm

of diluting the voting strength of Black Louisianians in violation of Section 2.

   B. The Mere Passage of SB 8 Does Not “Completely and Irrevocably”
       Eradicate the Effects of Defendants Section 2 Violation.

       Even if there were no risk of recurrence, this case is not moot for the separate

reason that the mere enactment of a VRA-compliant map—a map that has not and



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may never be used in any election—does not eradicate the harm Plaintiffs seek to

remedy or protect the rights they seek to vindicate. In short, Plaintiffs are not before

this Court to secure the enactment of a particular map that may no longer be

operative in 2024 and may never become operative. Rather, they brought this case to

ensure that, unlike elections past, they and other Black Louisianans can vote in

congressional districts that do not dilute their votes on account of race. Without a

judgment from this court, there is still a substantial risk the Plaintiffs will be forced

to vote under a congressional plan that violates the VRA in 2024 and subsequent

elections.

      Indeed, while broadly asserting that SB 8 has rendered this entire controversy

moot because “Black Louisianians can now elect candidates of their choice under” SB

8, Defendants in practice have done little to ensure that Black Louisianians’

opportunity to elect a candidate of choice in the rapidly approaching 2024 elections is

not illusory. For Plaintiffs’ claims to be moot, Defendants’ must demonstrate that SB

8 not only cures the VRA violation but also that it can be lawfully implemented—a

position they have studiously avoided taking. Even if Defendants were correct that

SB 8 cannot be considered a remedial map in the absence of a final judgment of this

Court, that would only highlight that Plaintiffs have not yet secured their rights and

that this case remains live. Defendants’ unwillingness to defend SB 8 here or in

Callais only underscores that there is still a live controversy over the State’s

obligations under the VRA.




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      Defendants’ reliance on Plaintiffs’ statement that they “do not oppose” SB 8 is

also misplaced. Plaintiffs’ position presumes that the map can be and will be lawfully

put into effect, a presumption the Callais litigation and Defendants inaction in

defending SB 8 may ultimately disprove. ECF Nos. 346, 347. In these circumstances,

the threatened violation of Plaintiffs’ voting rights still exists. The Callais litigation

makes it far from clear whether SB8 will ever be implemented. Indeed, just yesterday,

the Callais plaintiffs submitted a case management schedule seeking a preliminary

injunction hearing in that case to enjoin SB 8. Callais v. Landry, No. 3:24-cv-00122

(February 19, 2024), ECF No. 43. The Callais plaintiffs expressly seek adoption of a

map with only one majority-Black district, which this Court has held would likely

violate the VRA. Callais v. Landry, No. 3:24-cv-00122 (February 7, 2024), ECF No.

17-1 at 33; id. at ECF No. 17-3 at 13. Until Plaintiffs have assurance—through

declaratory and injunctive relief issued by this court—that they can and will vote

under a map that complies with the VRA, the risk of harm that Plaintiffs have

specifically brought this case to remedy continues, and this case remains “live.”

      Moreover, Defendants’ legal maneuvering threatens to deprive Plaintiffs of

any forum in which they can protect the rights that this Court and the Fifth Circuit

have already recognized. While they insist SB 8 gives Plaintiffs everything they asked

for here, Defendants characterize Plaintiffs’ attempts to defend the law in their stead

as a “desire to act as interlopers” in a case in which, according to Defendants,

Plaintiffs “are [not] in any way essential to its resolution.” Defs. Opp. To First-Filed

Mot., No. 355, pg. 13 at n.5. In other words, as Defendants would have it, Plaintiffs




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cannot seek further relief in this Court because SB 8 provides a complete remedy,

and they should not be permitted to protect that remedy from attack in the Callais

litigation because there are superficial differences in the factual and legal issues the

two cases involve. 3 In effect, Defendants argue that because there is no operative

order or judgment in this case, Plaintiffs have lost their ability to protect their rights

in this case, and their rights under Section 2 will instead be decided in another case

in another forum, potentially without their participation. But the fact that Plaintiffs’

rights are not secure in the absence of an order from this Court is the very definition

of a live issue. Mootness doctrine was not intended to put plaintiffs in such a bind,

and it does not do so here.


II.   The Public Interest Weighs Against a Finding of Mootness.

      The Supreme Court has long recognized the importance of the public interest

when assessing whether a defendant’s—including a government actor’s—voluntary

cessation of challenged conduct suffices to moot a case. See, e.g., W.T. Gant Co., 345

U.S. at 632-33 (in cases of voluntary cessation, “a public interest in having the legality



3 Defendants’ assertion    that the Callais case cannot be transferred to this court
because it involves constitutional claims that must be heard by a three-judge court is
without merit. ECF No. 355 at 3-4. They cite no reason or authority that the case
cannot be transferred to this Court and some combination of the current panel
recomposed or a new panel convened. They cite no case where the word “shall” in 28
U.S.C. § 2284 has been interpreted to mean that once a panel has been appointed, it
is set in stone for all time. On the contrary, there are a number of examples of cases
transferred from one three-judge panel to another or where panels have been
dissolved when the claims giving rise to panel’s authority have been dismissed. See,
e.g., Little v. King, 768 F.Supp.2d 56, 64-69 (D.D.C. 2011) (three-judge-panel
transferring to panel in Alabama and dissolving); Little v. Strange, 796 F. Supp. 2d
1314, 1324-25 (M.D. Ala. 2011) (newly constituted three-judge panel assuming case).

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of the [challenged] practices settled … militates against a mootness conclusion”); see

also Tucker v. Gaddis, 40 F.4th 289, 294 (5th Cir. 2022) (Ho, J., concurring) (“[S]uch

gamesmanship ‘harm[s] both good sense and [ ] individual rights’ and ‘depriv[es] the

citizenry of certainty and clarity in the law’ by ‘preventing the final resolution of

important legal issues.’”) (quoting Joseph C. Davis & Nicholas R. Reaves, The Point

Isn’t Moot: How Lower Courts Have Blessed Government Abuse of the Voluntary

Cessation Doctrine, 129 Yale L.J. Forum 325, 328 (2019)); Pierre v. Vasquez, No. 1:20-

CV-224-LY, 2022 WL 3219421, at *3 (W.D. Tex. Aug. 9, 2022) (holding that even

though the Texas Department of Public Safety made a post-appeal change of policy,

the plaintiffs’ claims were not moot because “there remains a public interest in

determining the legality of Defendants’ practices”).

      Here, the public undoubtedly has an interest in knowing whether the map

under which they will elect their representatives to Congress in the rapidly

approaching 2024 elections complies with the Voting Rights Act. That question

remains squarely before the Court in this case, and Defendants’ conspicuous absence

from the Callais litigation heightens the importance of having it resolved here, where

it has already been thoroughly litigated. This Court should deny Defendants’

assertion of mootness and resolve the disputed issues that remain before it.

      Indeed, based on the thorough record developed over two years of litigation in

this case, the Fifth Circuit and this Court have already recognized—in multiple

rulings that Plaintiffs are likely to succeed on their Section 2 claim—the public’s

undeniable interest in voting under a congressional map that does not dilute the votes




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of a significant portion of the State’s population. Plaintiffs, Black Louisiana activists,

educators, faith leaders, and voters, have spent over two years litigating their rights

under the VRA because they shared the simple belief that the state’s congressional

delegation ought to reflect the will of its population. Indeed, they have devoted

significant time and resources—at tremendous personal cost—to this litigation

precisely because they and one third of the state have been denied an equal

opportunity to elect a candidate of their choosing to the U.S. Congress. The creation

of a second district in which Black voters have the opportunity to elect their

candidates of choice is not only required by Section 2; it is integral to the functioning

of the political process in the state of Louisiana—this significant public interest

weighs heavily against any finding of mootness.


                                       CONCLUSION

      This Court can and should ensure that Plaintiffs are not forced to vote again

under a congressional districting plan that denies them an equal opportunity to elect

candidates of their choice to the U.S. Congress. Despite the enactment of a map that

contains two majority-Black districts, the State has not met its heavy burden of

showing that they have completely and irrevocably eradicated the harm this Court

and two panels of the Fifth Circuit agreed likely exists: elections occurring under a

congressional districting plan that dilutes Black Louisianians’ political power by

denying them an opportunity to elect candidates of choice in a second congressional

district. Because Defendants’ legal arguments lack merit and the harm Robinson




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Plaintiffs alleged in their complaint remains live so long as there is no final judgment

in this case, this Court should deny Defendants’ motion to dismiss.




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DATED: February 20, 2024                   Respectfully submitted,




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